Case: 4:05-Cr-OOll4-HEA Doc. #: 31 Filed: 10/20/05 Page: 1 of 7 Page|D #: 78

Ao 24513 (an. mm
Sheet 1- Judgment in a Criminal Case

United States District Court
Eastern District of Missouri
UNlTED STATES OF AMERlCA
JUDGMENT IN A CRIMINAL CASE

V,

 

 

 

THEODORE WALKER cAsE NUMBER: 4:05cR00114HEA
USM Nurnber: 31751-044
THE DEFENDANTZ Thomas Fly'nn
Defendant‘s Attorney

g pleaded guilty to count(S) one

l:| pleaded nolo contendere to count(s)
which was accepted by the cou.rt.

|::| w s fou d guilty on count(s)
a er a p ea of not guilty

The defendant is adjudicated guilty of these offenses:

Date Offense Count
Nature of Offense Concluded Number(s)
One

 

Title & Section

21 USC 84l(a)(l) Knowingly and intentionally possess with the intent to March 21, 2004
distribute a mixture or substance containing a
detectable amt of heroin, Sced. I Controlled Substa.nce

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant

to the Sentencing Reforrn Act of 1984.

 

|:| The defendant has been found not guilty on count(s)
§ COUH¥(S) two is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances

October 20, 2005
Date of Imposition of Judgment

izde

 

 

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Henry E. Autrey

United States District lodge

Name & Title of Judge

October 20, 2005
Date signed

Reoord No.‘. 679

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AO 245B (Rev. 121'03) Judjmem in Crirninal Case Sheet 2 - lmprisonmcnt
Judgment»Page 2 of

DEFENDANT: THEODORE WALKER
CASE NUMBER: 4:05CR00114HEA
District: Eastern Districi of Missouri

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for

a total term Of 13 months

§ The court makes the following recommendations to the Bureau of Prisons‘.

If defendant qualifies, he be placed in a Camp facility.

Defendant be placed in a facility as close to the St. Louis, MO area as possible

E The defendant is remanded to the custody of the United States Marshal.

|:| The defendant shall surrender to the United States Marshal for this district:
|:] at a.m./pm on
|:J as notified by the United States Marshal.
g The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

\::| before 2 p.m. on

g as notified by the United States Marshal
E as notified by the Probation or Pretrial Services Oft`Ice

MARSHALS RETURN MADE ON SEPARATE PAGE

 

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AO 2455 (Rcv. 12/03) .ludgmcnt li'i Crimlnal Case Sheei 3 - Supervised Re|ca.'.e

Judgment-Page 3 of 6

 

DEFENDANT: THEODORE WALKER
CASE NUMBER: 4:05CR00114HEA
Distnct: Eastern District of Missouri

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of Three years

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federa], state, or local crime.

The defendant shall not illegally possess a controlled substance

The defendant shall refrain from any unlawful use of a controlled substance The defendant shall submit to one drug test within
15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation oiiicer.

The above drug testing condition is suspended based on the court‘s determination that the defendant poses a low risk

of future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check, if applicable.)

E| The defendant shall cooperate in the collection of DNA as directed by the probation oiiicer. (Check, if applicable)

E| The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation ofticer. (Check, if applicable.)

[| The Defendant shall participate in an approved program for domestic violence (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay in
accordance with the Schedule of Payrnents sheet of this judgment

The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other

acceptable reasons;

6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled

substance or paraphernalia related to any controlled substances, except as prescribed by a physician:

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted

of a felon unless granted permission to do so b the probation ofi~'icer;
10) the de endant shall permit a probation of icer to visit him or her at any time at home or elsewhere and shall permit

confiscation of any contraband observed in plain view of the probation officer;

l l) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement oi'iicer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement

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AO 245B (Rev. 12/03) Judgment in Criminal Case Sheet JB - Supervised Re|ease

 

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DEFENDANT; THEODORE WALKER
CASE NUMBER; 4:05CR00114HEA
Disirict: Eastern District of Missouri

ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

 

 

The defendant shall refrain horn any unlawful use of a controlled substance and submit to a drug test within 15 days of commencement of
supervision and at least two periodic drug tests thereaiier for use of a controlled substance

The defendant shall participate in a drug or alcohol abuse treatment program approved by the United States Probation OB`rce, which may
include substance abuse testing, counseling, residence in a Community Corrections Center, residence in a Comprehensive Sanctions
Center, or inpatient treatment in a treatment center or hospital. The defendant shall pay for the costs associated with substance abuse
services based on a co-pay'ment fee established by the United States Probation Office. Co-payments shall never exceed the total cost of
services providcd.

The defendant shall abstain from the use of alcohol and.for all other intoxicants

The defendant shall submit his/her person, residence, oHice, or vehicle to a search conducted by the United States Probation Oflice ata
reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
releasc. Failure to submit to a search may be grounds for revocation. The defendant shall warn any other residents that the premises may
be subject to searches pursuant to this condition

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AO 245B (Rev. 12t03) Judgm€t'tt in Criminal Case Sheet 5 - Criminal Monetary Penalties

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DEFENDANT: THEODORE WALKER
CASE NUMBER: 4:05CR00114HEA
Distn'ct: Eastern District of Missouri

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments orr sheet 6
Assessrnent Fine Restitution

Totals: $100'00

 

 

E The determination of restitution is deferred until _ An Ame,,ded Judgme,,¢ in a C,.,'m,-,,aj Case (AO 245@)
will be entered after such a determination. __

|:| The defendant shall make restitution, payable through the Clerk of Cou.rt, to the following payees in the amounts listed below.

If the defenth makes a partial payrnent, each payee shall receive an approximately proportional payment unless specified
otherwise in the priority order or percentage payment column below. I-Iowever, pursuant ot 18 U.S.C. 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss'l Restitution O[der§d PriOriH Or P€l'C€ntage

Totals:

 

|:| Restitution amount ordered pursuant to plea agreement

m The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the fifteenth day
after the date ofjudgment, pursuant to 18 U.S.C. § 3612(f`). All of the payment options on Sheet 6 may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

|:| The court determined that the defendant does not have the ability to pay interest and it is ordered that:

|::| The interest requirement is waived for the. l:l fine and for n restitution
|:`_`| The interest requirement for the n fine m restitution is modified as follows'.

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994 but before April 23, 1996.

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AO 24513 (Rev. 12/03) Judgmentin Criminal Case Sheet 6 ' Seh€d“l€ 05 Payrnents

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DEFENDANT: THEODORE WALKER
CASE NUMBER: 4:05CR001 14HEA
District: Eastern Distriot of Missouri

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties shall be due as follows:

 

A g Lump sum payment Of $1()0_00 due immediately, balance due
ij not later than ,01'
m inaccordance with m C, m D, or m Ebelow; or m Fbelow; or
B m Payment to begin immediately (may be combined with ij C, m D, or m Ebelow; or n FbelOW; Ol‘

(e.g., equal, weckly, monthly, quarterly) installments of over a period of
e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

C m Payment in

 

D m Payment in (e.g., equal, weekly, monthly, quarterly) installments of over a period of
e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E m Payment during the term of supervised release will commence within (€-g-, 30 01' 50 days) BR€I’ Rel€BSe from
imprisonment The court will set the payment plan based on an assessment of me defendants ability to pay at that time: or

F m Special instructions regarding the payment of criminal monetary penalties:
Speclal assessment of $100.00 due lmmedlately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment payment of criminal monetary penalties is due
during the period of imprisonment All criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
Inrnate Financial Responsibility Prograrri are made to the clerk of the court

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

E Joint and cheral
Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate

m The defendant shall pay the cost of prosecution
|:l The defendant shall pay the following court cost(s):

m The defendant shall forfeit the defendants interest in the following property to the United States:

Payrnents shall be applied in the following order: (l ) assessment; (2) restitution principal, (3) restitution interest (4) fine principal,
(S)fine interest (6) corrurrunity restitution.(”l) penalties, and (8) costs, including cost of prosecution and court eosts.

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DEFENDANT: THEODORE WALKER

 

CASE NUMBER: 4:05CR00114HEA
USM Number: 31751-044

 

UNITED STATES MARSHAL
RETURN OF JUDGMENT IN A CRIMINAL CASE

 

l have executed this judgment as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

The Defendant was delivered on to
at with a certified copy of this judgment
UNITED STATES MARSHAL
By
Deputy U.S. Marshal
El The Defendant was released on to Probation
l:l The Defendant was released on to Supervised Release
n and a F inc of l:l and Restitution in the amount of
UNITED STATES MARSHAL
By
Deputy U.S. Marshal
l certify and Return that on , l took custody of
at and delivered same to
on F.F.T.

 

 

U.S. MARSHAL E/MO

ay DUSM

